










Opinion issued October 5, 2006













In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-01185-CR
____________

RAPHAEL KIRK SIMS, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 177th District Court 
Harris County, Texas
Trial Court Cause No. 1035356



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On September 28, 2006, appellant  filed a motion to dismiss the above-referenced appeal.  The motion complies with the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Nuchia, Jennings, and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).


